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             IN THE DISTRICT COURT OF THE VIRGIN ISLANDS
                         DIVISION OF ST. CROIX

UNITED STATES OF AMERICA and         )
GOVERNMENT OF THE VIRGIN             )
ISLANDS,                             )
                                     )
                  Plaintiffs,        )
                                     )                       CRIM. NO. 2006-0030
            v.                       )
                                     )
ZACHEAUS BLAKE, et al.,              )
                                     )
                  Defendants.        )
____________________________________ )

                                MEMORANDUM OPINION
Finch, Senior Judge

         THIS MATTER comes before the Court on the Motion to Dismiss Based on Double

Jeopardy filed by Defendant Blaine Claxton. Claxton claims that a conviction of the conspiracy

count charged in Count 1 of the Second Superseding Indictment in this matter would constitute

double jeopardy in light of his plea to a conspiracy count in Criminal No. 06-31.


I.       Double Jeopardy Jurisprudence

         The Double Jeopardy Clause provides: “[N]or shall any person be subject for the same

offense to be twice put in jeopardy of life of limb.” U.S. Const. amend V. “Double jeopardy

attaches when it is shown that two offenses charged are in law and in fact the same offense.”

United States v. Ciancaglini, 858 F.2d 923, 927 (3d Cir. 1988) (quotation omitted).

         To vindicate his double jeopardy rights, a defendant must first make a non-frivolous

showing that a second indictment is for the same offense for which he was formerly in jeopardy.

Then the burden shifts to the government to prove by a preponderance of the evidence that there

were in fact separate offenses, or, as in this case, that the conspiracies are separate. See id.
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         “[A] conspiracy defendant will make out a non-frivolous showing of double jeopardy if

he can show that (a) the ‘locus criminis’ of the two alleged conspiracies is the same, (b) there is a

significant degree of temporal overlap between the two conspiracies charged, (c) there is an

overlap of personnel between the two conspiracies (including unindicted as well as indicted

coconspirators), and (d) the overt acts charged and the role played by the defendant according ot

the two indictments are similar.” Id. The Court uses a “totality of the circumstances test” in

evaluating the merits of a conspiracy defendant’s double jeopardy claim.” Id.


II.      Analysis

         The Government, in its oral argument at the close of the Government’s case-in-chief,

brought to the Court’s attention the Plea Agreement within which Claxton stipulated to the facts

and circumstances of the Crim. No. 06-31 conspiracy. Although the conspiracy charged in Crim

No. 06-31 was more extensive, Claxton stipulated to the following factual basis for his guilty

plea:1

                 From September 1, 2005 to about November 18, 2005 in St. Croix,
         Defendant agreed with other co-defendants to distribute marijuana. Specifically,
         Defendant arranged for the receipt of approximately 3.8 kilograms of marijuana
         through the mail that was sent by co-defendant Richard Newman on or about
         September 29, 2005. Defendant also arranged for the receipt of approximately
         895 grams of marijuana through the mails which was retrieved by co-defendant
         Charles Francis and hand delivered to Defendant. The amount of drugs involved
         in the conspiracy was between 2.5 kilograms and 5 kilograms of marijuana.

         Because Claxton entered into this stipulation, he is bound by it, and cannot now claim a

broader conspiracy. Cf. United States v. Lopez, 356 F.3d 463, 469 (2d Cir. 2004) (binding


         1
         The Court takes judicial notice of the Plea Agreement that Claxton entered into with the
United States Attorney for the District of the Virgin Islands on June 1, 2007, Docket No. 204 of
Crim. No. 06-31.

                                                  2
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Government to scope of conspiracy to which it had stipulated in plea agreement); United States

v. Granik, 386 F.3d 404, 412-13 (2d Cir. 2004) (holding defendants to factual stipulations in

reliance on Lopez).

       Count 1 of the Second Superseding Indictment in Crim. No. 06-30 and the evidence

adduced at trial in support of the government’s case-in-chief concerns a conspiracy running from

September 1, 2005 until February 2006 in St. Croix, Virgin Islands. Thus, the location of the

two alleged conspiracies is the same and the timing overlaps.

       The conspiracy of Crim No. 06-30 allegedly involves Claxton, Zacheaus Blake, Kalif

Berry, St. Clair Liburd, and Randy Simon. Thus, the only overlap in personnel between the two

conspiracies is Claxton himself.

       The overt acts charged and Claxton’s role in the two conspiracies are substantially

different. The overt acts charged in Count 1 of Crim. No. 06-30 include Blake transporting

cocaine powder to his sister’s house and cooking cocaine base there for later distribution, Blake

storing firearms at his sister’s house, Blake and Berry possessing large sums of cash, Claxton

storing cocaine powder for Berry and giving it to Berry at Blake’s direction, Berry and Liburd

cooking cocaine base in a hotel room with the assistance of Winston Samuel, Berry

communicating with Blake regarding concealing cocaine and Blake’s subsequent concealment of

the cocaine at his sister’s house, and Blake directing an associate to remove money and firearms

from Blake’s house and Blake’s mother’s house. The evidence in the government’s case-in-chief

tended to support the overt acts of storing and secreting cocaine powder and cocaine base,

preparing cocaine base for distribution, and possessing large sums of cash.

       The Second Superseding Indictment did not charge Claxton with arranging for the


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mailing and receipt of marijuana. The evidence submitted in the government’ case-in-chief did

not tend to show a conspiracy to arrange for or receive marijuana through the mail, or Claxton’s

involvement in any such conspiracy. Thus, the overt acts and the role that Claxton played in the

two conspiracies are significantly different.

        Although the time frame of the conspiracy to which Claxton stipulated in Crim. No. 06-

31 is subsumed within the time frame of the conspiracy charged in Crim. No. 06-31 and both

conspiracies took place in St. Croix, Virgin Islands, the similarities between the conspiracies end

there. The conspiracy of Crim. No. 06-31 involves an agreement to receive marijuana by mail.

The conspiracy of Crim. No. 06-30 involves an agreement with the goal of secreting cocaine

powder and selling it as is or converting it to cocaine base and distributing it.


III.    Conclusion

        Under the totality of the circumstances test, the Court finds that the Claxton has failed to

make out a non-frivolous showing of double jeopardy. Even if Claxton has made such showing,

the Government has shown by a preponderance of the evidence that the two conspiracies are

separate. Therefore, the Court denies Claxton’s Motion to Dismiss Based on Double Jeopardy.



                                                               ENTER:

DATE:          July 17, 2009                                   _______/s/___________________
                                                               RAYMOND L. FINCH
                                                               SENIOR DISTRICT JUDGE




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